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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE,
EASTERN DIVISION

 

 

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MARK MANNING, ) 30 “9/`
Plaintiff, )
vs. ) No_ 01-05-1082-1` An
Jury Trial Demanded

RYAN SHANKLIN, individually and in his )
official capacity as a former officer of

The City of Bradford and the CITY OF )
BRADFORD, TENNESSEE,

Defendants.

 

REPORT OF THE PARTIES’ PLANNING MEETING AND PI'M
RULE 16(B) SCHEDULING ORDER

 

Counsel for the parties have conferred, pursuant to Federal Rules of Civil Procedure
26(f), for the purpose of proposing a discovery plan. Counsel for the parties Submit the
following proposed Scheduling Order pursuant to their Rule 26(f) meeting
INITIAL DISCLOSURES (Rule 26(a)(])) : September 15 , 2005
JOINING PARTIES:
F or Plaintiff: October 31, 2005
For Defendants: November 30, 2005
AMENDING PLEADINGS:
For Plaintiff: 0ctober 31, 2005

For Defendants: November 30, 2005

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COMPLETING ALL DISCOVERY: April l, 2006

(a) Requests for Production, lnterrogatories and Requests for Admissions:
December 15, 2005.

(b) Expert Witness Disclosures (Rule 26(a)(2)):
(i) Plaintiff’ s Experts: February l, 2006
(ii) Defendants’ Experts: March l, 2006
(iii) Supplementations under Rule 26(e): March 10, 2006
(c) Depositions of Experts: April l, 2006
FILING DISPOSITIVE MOTIONS: April 17, 2006
FINAL LIST OF WITNESSES:

(a) For Plaintiff: June 2, 2006
(b) For Defendants: June 16, 2006

The parties shall have ten (10) days after service of final lists of Witnesses and exhibits to
tile objections under Rule 26(a)(3).

The trial of this matter is expected to last three (3) days and is SET for JURY TRIAL on
MONDAY, JULY 17, 2006, at 9:30 A.M. A proposed joint pre-trial order is due on FRIDAY,
JULY 7, 2006. In the event the parties are unable to agree on a joint pre-trial order, the parties
must notify the court at least ten day before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allows 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of that

portion of the discovery.

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Motions to compel discovery are to be filed and served by the appropriate discovery
deadline or within 30 days of the default or service of the response, answer, or objection which is
the subject of the motion, if the default occurs within 30 days of the discovery deadline, unless
the time for filing of such motion is extended for good cause shown, or any objection to the
default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions except
motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and a
Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may tile an additional reply, however, without leave of the Court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties may consent to a trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties With a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises Which precludes the matter from
proceeding to trial.

The parties are encouraged to engage in con rt-annexed attorney mediation or
private mediation on or before the close of discoverv.

This Order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or

extended

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IT IS SO ORDERED.

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Hon. S. THOMAS ANDERSON
UNITED SZ:ES MAGISTRATE JUDGE

DATE; Ucwi' 2(,, 203\/

APPROVED FOR ENTRY:

CROCKER & CARTER, PLLC

By: Q. hqu I:BQQA¢ lie i\? )»»W>
C. TIMOT CROCKER (BPR #OIO 09)

Attorney for Plaintiff
P.O. Box 505

Milan, TN 38358
(731) 686-2400

FLIPPIN, COLLINS & HILL, P.L.L.C.

By: ®19@ (m»:w`

FRED COLLINS (BPR #007513)
Attorney for Defendants

P. O. Box 679

Milan, TN 38358-0679

(731) 686-8355

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CV-01082 was distributed by fax, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Fred Collins

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

l\/lilan7 TN 38358

Michael R. Hill

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

l\/lilan7 TN 38358

C. Timothy Crocker
CROCKER LAW FIRM
1026 College St.

Ste. 202 Bancorp South Bldg.
l\/lilan7 TN 38358

Honorable J ames Todd
US DISTRICT COURT

